                                IN THE UNITED STATES DISTRICT COURT
       Case 3:17-cr-00560-K
                          FOR Document 43 Filed
                              THE NORTHERN      11/07/17
                                           DISTRICT        Page 1 of 1
                                                      OF TEXAS                                      PageID 76
                                               DALLAS DIVISION

UNITED STATES OF AMERICA                                  §
                                                          §
vs.                                                       §                       CASE NO.: 3:17-CR-560-K (02)
                                                          §
MICHAEL LEE KELLY                                         §

                                     REPORT AND RECOMMENDATION
                                      CONCERNING PLEA OF GUILTY

        MICHAEL LEE KELLY, by consent, under authority of United States v. Dees, 125 F .3d 261 (5th Cir. 1997),
has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to the One Count
Superseding Information, filed on October 31,2017. After cautioning and examining Defendant Michael Lee
Kelly, under oath concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea was
knowledgeable and voluntary and that the offense charged is supported by an independent basis in fact containing each
of the essential elements of such offense. I therefore recommend that the plea of guilty be accepted, and that
Defendant Michael Lee Kelly, be adjudged guilty of Conspiracy to Possess With the Intent to Distribute
Methamphetamine, in violation of21 USC§ 846[21 USC§ 841(a)(1) and (b)(1)(C)], and have sentence imposed
accordingly. After being found guilty of the offense by the district judge.




X
D
        The defendant is currently in custody and should be ordered to remain in custody.

        The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear
        and convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        D       The Government does not oppose release.
        D       The defendant has been compliant with the current conditions of release.
        D       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                other person or the community if released and should therefore be released under § 3142(b) or (c).

        D       The Government opposes release.
        D       The defendant has not been compliant with the conditions of release.
        D       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the Court finds there
        is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly
        shown under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and
        convincing evidence that the defendant is not likely to flee o               danger to any other person or the
        community if released.

        Signed November 7, 2017

                                                          DAV    0
                                                          UNITED STATES MAGISTRATE JUDGE

                                                      NOTICE
          Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(l)(B).
